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                            No. 24-12311-J

                                 In the
               United States Court of Appeals
                        For the Eleventh Circuit
                          ____________________

                  UNITED STATES OF AMERICA,
                           Appellant,
                                   V.

             DONALD J. TRUMP, WALTINE NAUTA,
                 and CARLOS DE OLIVEIRA
                     Defendants-Appellees.
                    ____________________
   ON APPEAL FROM THE UNITED STATES DISTRICT COURT
        FOR THE SOUTHERN DISTRICT OF FLORIDA
       District Court No. 9:23-CR-80101-AMC-1 (Cannon, J.)
                             ______________

           MOTION TO HOLD APPEAL IN ABEYANCE
                             ______________
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           United States v. Donald J. Trump, Waltine Nauta, and Carlos De Oliveira
                                        No. 24-12311-J

                 CERTIFICATE OF INTERESTED PERSONS

      Pursuant to Fed. R. App. P. 26.1 and 11th Cir. R. 26.1-1 and 26.1-2, the

undersigned hereby certifies that the following is a list of persons and entities

who have an interest in the outcome of this case:

      1.      Advance Publications, Inc.

      2.      Alonso, Cristina

      3.      America First Legal Foundation

      4.      America First Policy Institute

      5.      America’s Future

      6.      American Broadcasting Companies, Inc., d/b/a ABC News

      7.      American Center for Law and Justice

      8.      Ayer, Donald

      9.      Bell, Daniel W.

      10.     Berry, Michael

      11.     Bird, Brenna

      12.     Blackman, Joshua

      13.     Blanche, Todd

      14.     Bloomberg, L.P.

      15.     Bondi, Pamela J.

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    16.   Boos, Michael

    17.   Bove, Emil

    18.   Bowman, Chad

    19.   Bratt, Jay

    20.   Cable News Network, Inc.

    21.   Calabresi, Steven

    22.   Caldera, Louis

    23.   Cannon, Hon. Aileen

    24.   Cate, Matthew

    25.   CBS Broadcasting, Inc. o/b/o CBS News

    26.   Citizens for Responsibility and Ethics in Washington

    27.   Citizens United

    28.   Citizens United Foundation

    29.   CMG Media Corporation

    30.   Coleman, Russell

    31.   Coleman, Tom

    32.   Commonwealth of Kentucky

    33.   Conway, George

    34.   Conservative Legal Defense and Education Fund

    35.   Cooney, J.P.


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    36.   Cox Enterprises, Inc. (COX) d/b/a The Atlanta Journal-
          Constitution

    37.   Cynkar, Robert J.

    38.   Dadan, Sasha

    39.   De Oliveira, Carlos

    40.   Dow Jones & Company, Inc., publisher of The Wall Street Journal

    41.   Dreeben, Michael

    42.   Drummond, Gentner

    43.   Edelstein, Julie

    44.   Ekonomou, Andrew J.

    45.   Fields, Lazaro

    46.   Fitzgerald, Patrick

    47.   Forrester, Nathan A.

    48.   Fort Myers Broadcasting Company

    49.   Gerson, Stuart

    50.   Gertner, Nancy

    51.   Gillers, Stephen

    52.   Goodman, Hon. Jonathan

    53.   Gray Media Group, Inc. (GTN)

    54.   Griffin, Tim

    55.   Guardian News & Media Limited

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    56.   Gun Owners Foundation

    57.   Gun Owners of America

    58.   Gun Owners of California

    59.   Harbach, David

    60.   Heigis, Eric

    61.   Henneke, Robert

    62.   Hilgers, Michael T.

    63.   Hirsch, Steven A.

    64.   Hulser, Raymond

    65.   Insider, Inc.

    66.   Irving, John

    67.   Jackley, Marty J.

    68.   Jorjani, Daniel H.

    69.   Kise, Christopher

    70.   Klukowski, Kenneth A.

    71.   Knudsen, Austin

    72.   Kobach, Kris

    73.   Kozinski, Alex

    74.   Labrador, Raúl R.

    75.   Lacovara, Philip Allen


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    76.   Landmark Legal Foundation

    77.   Lawson, Gary

    78.   Los Angeles Times Communications LLC, publisher of The Los
          Angeles Times

    79.   Marshall, Steve

    80.   Maynard, Hon. Shaniek Mills

    81.   McKay, John

    82.   McNamara, Anne

    83.   McSweeney, Patrick M.

    84.   Meese, Edwin

    85.   Miller, Justin A.

    86.   Miller, Matthew

    87.   Mishkin, Maxwell

    88.   Moelker, Nathan J.

    89.   Moody, Ashley

    90.   Monson, Darrick W.

    91.   Morgan, Jeremiah L.

    92.   Morrisey, Patrick

    93.   Mukasey, Hon. Michael B.

    94.   Murrell, Larry Donald

    95.   National Cable Satellite Corporation d/b/a C-SPAN

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    96.   National Public Radio, Inc.

    97.   Nauta, Waltine

    98.   NBCUniversal Media, LLC d/b/a NBC News, a subsidiary of
          Comcast Corporation (CMCSA)

    99.   Nielson, Aaron L.

    100. Olson, William J.

    101. One Nation Under God Foundation

    102. Orlando Sentinel Media Group, publisher of the Orlando Sentinel

    103. Paxton, Ken

    104. Pearce, James

    105. Pellettieri, John

    106. Pettit, Lanora C.

    107. POLITICO LLC

    108. Potter, Trevor

    109. Public Advocate of the United States

    110. Radio Television Digital News Association

    111. Raul, Alan Charles

    112. Ray, Robert W.

    113. Reinhart, Hon. Bruce E.

    114. Reuters News & Media, Inc.

    115. Reyes, Sean

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    116. Rokita, Theodore E.

    117. Roth, Stuart J.

    118. Russell, Lauren

    119. Salario, Samuel

    120. Sample, James J.

    121. Sasso, Michael

    122. Schaerr, Gene

    123. Sekulow, Jay Alan

    124. Sekulow, Jordan

    125. Seligman, Matthew

    126. Sisney, Benjamin P.

    127. Skrmetti, Jonathan

    128. Smith, Abbe

    129. Smith, Fern

    130. Smith, Jack

    131. State Democracy Defenders Action

    132. State of Alabama

    133. State of Alaska

    134. State of Arkansas

    135. State of Florida


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    136. State of Idaho

    137. State of Indiana

    138. State of Iowa

    139. State of Kansas

    140. State of Louisiana

    141. State of Mississippi

    142. State of Missouri

    143. State of Montana

    144. State of Nebraska

    145. State of Oklahoma

    146. State of South Carolina

    147. State of South Dakota

    148. State of Tennessee

    149. State of Texas

    150. State of Utah

    151. State of West Virginia

    152. Steinman, Jessica Hart

    153. Sun-Sentinel Company, LLC, publisher of the South Florida Sun
         Sentinel

    154. TEGNA, Inc. (TGNA)

    155. Telemundo Network Group, LLC d/b/a Noticias Telemundo

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    156. Texas Public Policy Foundation

    157. Thakur, Michael

    158. The Associated Press

    159. The E.W. Scripps Company (SSP)

    160. The McClatchy Company, LLC (MNI) d/b/a the Miami Herald

    161. The New York Times Company (NYT)

    162. The Palm Beach Post and USA TODAY, publications operated by
         subsidiaries of Gannett Co., Inc. (GCI)

    163. Thompson, Larry

    164. Tillman, Seth Barrett

    165. Tobin, Charles

    166. Torres, Hon. Edwin

    167. Treg, Taylor

    168. Trent, Edward H.

    169. Tribe, Laurence

    170. Troye, Olivia

    171. Trump, Donald J.

    172. Trusty, James

    173. Twardy, Stanley

    174. United States of America

    175. Univision Networks & Studios, Inc.

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    176. U.S. Constitutional Rights Legal Defense Fund

    177. VanDevender, Cecil

    178. Webster, Brent

    179. Weiss, Stephen

    180. Weld, William

    181. Weldon, Chance

    182. Wessan, Eric H.

    183. Wharton, Kendra

    184. Whitaker, Henry C.

    185. Whitaker, Matthew

    186. Whitman, Christine Todd

    187. Wilson, Alan

    188. Woodward, Stanley

    189. WP Company LLC d/b/a The Washington Post

    190. WPLG, Inc.




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                                       Respectfully submitted,

                                       JACK SMITH
                                       Special Counsel

                                 By:   /s/ James I. Pearce
                                       JAMES I. PEARCE
                                       Assistant Special Counsel
                                       950 Pennsylvania Avenue, N.W.
                                       Washington, D.C. 20530




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      As a result of the election held on November 5, 2024, one of the

defendants in this case, Donald J. Trump, is expected to be certified as President-

elect on January 6, 2025, and inaugurated on January 20, 2025. The

Government respectfully requests that the Court hold this appeal in abeyance—

and stay the deadline for the Government’s reply brief, which is currently due

on November 15, 2024—until December 2, 2024, to afford the Government time

to assess this unprecedented circumstance and determine the appropriate course

going forward consistent with Department of Justice policy. If the Court grants

the abeyance, the Government will inform the Court of the result of its

deliberations—and, if appropriate, file its reply brief—no later than December

2, 2024. The Government has consulted with counsel for the defendants, who

do not object to this request.

                                            Respectfully submitted,

                                            JACK SMITH
                                            Special Counsel

                                            /S/ JAMES I. PEARCE
                                            Assistant Special Counsel
                                            U.S. Department of Justice
                                            950 Pennsylvania Ave., N.W.
                                            Rm. B-206
                                            Washington, D.C. 20530


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                       CERTIFICATE OF COMPLIANCE

      This motion contains 143 words, excluding the parts of the brief exempted

by Fed. R. App. P. 32(f).

                                                  /s/James I. Pearce
                                                  James I. Pearce
                                                  Assistant Special Counsel
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                          CERTIFICATE OF SERVICE

      I hereby certify that on November 13, 2024, I electronically filed the

foregoing with the Clerk of the Court for the United States Court of Appeals for

the Eleventh Circuit by using the CM/ECF system. I further certify that

appellees’ counsel are registered CM/ECF users and that service will be

accomplished by the CM/ECF system.

                                                 /s/James I. Pearce
                                                 James I. Pearce
                                                 Assistant Special Counsel
